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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     PEDRO GUTIERREZ-VALENCIA
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                    )        CR.S-09-00407 KJM
10                                                )
            PLAINTIFF,                            )        STIPULATION AND ORDER
11                                                )        TO MODIFY THE BRIEFING
            v.                                    )        SCHEDULE
12                                                )
     MARIA DEL ROCIO                              )
13   ARCEO-RANGEL, et al.,                        )
                                                  )
14                                                )
          DEFENDANTS.                             )
15   ______________________________)
16                                  PARTIES TO THE LITIGATION
17          The parties to this litigation, the United States of America, represented by Assistant United
18   States Attorney Samuel Wong, and the defendants (hereinafter referred to as the defendants): 1)
19   Maria Del Rocio Arceo-Rangel, represented by her attorney Mr. Michael D. Long; 2) Erica Beatriz
20   Martinez-Rangel represented by her attorney Mr. Hayes H. Gable, III; 3) Martin Garcia-Chavez
21   represented by his attorney Mr. Michael B. Bigelow; 4) Isidro Gutierrez-Valencia represented by his
22   attorney Ms. Dina L. Santos; 5) Cruz Manzo-Gonzales represented by his attorney Mr. John R.
23   Manning; 6) Alfredo Gallardo-Sosa represented by his attorney Mr. Jesse S. Ortiz, III; 7) Walter
24   Maruicio Lopez-Perez represented by Mr. Dan F. Koukol; 8) Gumersindo Perez-Herrera represented
25   by his attorney Ms. Preeti Kaur Bajwa; 9) Jorge Heriberto Andrade-Torres represented by his
26   attorney Mr. Kirk McAllister; 10) Ricardo Castellanos-Cordova represented by his attorney Mr.
27   Clemente M. Jimenez; 11) Jesus Munoz-Castanon represented by his attorney Mr. Carl E. Larson
28                                                     1
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 1   and 12) Pedro Gutierrez-Valencia represented by his attorney, Mr. James R. Greiner, hereby agree
 2   and stipulate that the current briefing schedule set on June 23, 2011, shall be modified as follows:
 3           Defense Speedy Trial Act dismissal motion to be filed by August 11, 2011;
 4           Government’s opposition to be filed by September 22, 2011;
 5           Defense reply to government opposition to be filed by September 29, 2011; and
 6           Court hearing on defendants' Speedy Trial Act dismissal motion on October 13, 2011.
 7                        TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT
 8           The Court at the status hearing on June 23, 2011, excluded the time period from June 23,
 9   2011, to and including November 10, 2011, from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act after finding that the ends of justice served by
11   granting such continuance outweigh the best interest in the public and all of the defendants in a
12   speedy trial. That finding was supported by the factual bases and findings which were stated on the
13   record, which are hereby adopted in full herein as if stated in full herein, which include, but are not
14   limited to: (1) this case is unusual and so complex within the meaning of Title 18 U.S.C. Section
15   3161(h)(7)(A) and (B)(ii) and Local Code T-2, and that it would be unreasonable to expect adequate
16   preparation for pretrial proceedings or for the trial itself within the time limits established in the
17   Speedy Trial Act; and (2) additional time is needed to allow defense counsel reasonable time
18   necessary for effective preparation, taking into account the exercise of due diligence within the
19   meaning of Title 18, U.S.C. Section 3161(h)(7)(A) and (B)(iv) and Local Code T-4. All parties
20   agree to and stipulate to the continued exclusion of the time period from June 23, 2011 up to, and
21   including, November 10, 2011, from computation of time within which the trial of this case must be
22   commenced under the Speedy Trial Act due to the number of defendants, twelve (12), the volume of
23   discovery (including approximately three large binders of documents, recordings of Spanish
24   language interviews of various defendants, the need for most defense counsel to communicate with
25   his/her client through a Spanish/English language interpreter, numerous photographs, and hundreds
26   of potential trial exhibits), the complex legal issues, the anticipated filing of multiple pre-trial
27   motions by the parties, and the need to conduct further investigation in the case. All the parties
28                                                        2
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 1   agree that the Court should continue to find that the ends of justice served by granting such
 2   continuance from June 23, 2011, to, and including, November 10, 2011, outweigh the best interest in
 3   the public and all of the defendants in a speedy trial for the reasons stated above. In addition, all the
 4   parties agree and stipulate that this modification of the briefing schedule for the defendants' Speedy
 5   Trial Act dismissal motion is reasonable and necessary because the last transcript in this case that is
 6   necessary for the proper preparation of the motion was received on Saturday, July 30, 2011, and the
 7   additional time to August 11, 2011, is needed by the defense to review the transcript, perform legal
 8   research, and prepare the motion.
 9          Respectfully submitted:
10                                          BENJAMIN B. WAGNER
                                            UNITED STATES ATTORNEY
11
                                            /s/ Samuel Wong, by email authorization
12
     DATED: 9-13-11                 By:     _____________________________________
13                                          Samuel Wong
                                            ASSISTANT UNITED STATES ATTORNEY
14                                          ATTORNEY FOR THE PLAINTIFF
15   DATED: 9-13-11
                                            /s/ Michael D. Long by e mail authorization
16                                          ______________________________________
                                            Michael D. Long
17                                          Attorney for Defendant
                                            Maria Del Rocio Arceo-Rnagel
18
     DATED: 9-13-11                         /s/ Hayes H. Gable, III by e mail authorization
19                                          _______________________________________
                                            Hayes H. Gable, III
20                                          Attorney for Defendant
                                            Erica Beatriz Martinez-Rangel
21
     DATED: 9-13-11                         /s/ Michael B. Bigelow by e mail authorization
22                                          _____________________________________
                                            Michael B. Bigelow
23                                          Attorney for Defendant Martin Garcia-Chavez
24
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27
28                                                       3
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 1   DATED: 9-13-11                  /s/ Dina L. Santos by e mail authorization
                                     ______________________________________
 2                                   Dina L. Santos
                                     Attorney for Defendant Isidro Gutierrez-Valencia
 3   DATED: 9-13-11                  /s/ John R. Manning by e mail authorization
                                     ____________________________________
 4                                   John R. Manning
                                     Attorney for Defendant Cruz Manzo-Gonzalez
 5
 6   DATED: 9-13-11                  /s/ Jesse S. Ortiz, III by e mail authorization
                                     ______________________________________
 7                                   Jesse S. Ortiz, III
                                     Attorney for Defendant Alfredo Gallardo-Sosa
 8   DATED: 9-13-11                  /s/ Dan F. Koukol by e mail authorization
                                     ____________________________________
 9                                   Dan F. Koukol
                                     Attorney for Defendant Walter Maruicio Lopez-Perez
10
11   DATED: 9-13-11                  /s/ Preeti Kaur Bajwa by telephone authorization
                                     ______________________________________
12                                   Preeti Kaur Bajwa
                                     Attorney for Defendant Gumersindo Perez-Herrera
13
     DATED: 9-13-11                  /s/ Kirk McAllister by e mail authorization
14                                   ______________________________________
                                     Kirk McAllister
15                                   Attorney for Defendant
                                     Jorge Heriberto Andrade-Torres
16
     DATED: 9-13-11                  /s/ Clemente M. Jimenez by e mail authorization
17                                   _______________________________________
                                     Clemente M. Jimenez
18                                   Attorney for Defendant Ricardo Castellanos-Cordova
19   DATED: 9-13-11                  /s/ Carl E. Larsen by e mail authorization
                                     _______________________________________
20                                   Carl E. Larson
                                     Attorney for defendant Jesus Munoz-Castanon
21
     DATED: 9-13-11                  /s/ James R. Greiner
22                                   ___________________________________
                                     James R. Greiner
23                                   Attorney for Defendant Pedro Gutierrez-Valencia
24
25   ///
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 1                                                    ORDER
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            The court, having received, read, and considered the agreement and stipulation of the parties
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     to modify the briefing schedule of the anticipated defense motion to dismiss based on an alleged
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     Speedy Trial Act violation, having reviewed the record and the docket in this case, and good cause
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     appearing therefrom, adopts the parties' stipulation in its entirety as the court's order.
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            This court finds that the ends of justice served by granting such continuance and
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     modification to the briefing schedule outweigh the best interest in the public and all of the
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     defendants in a speedy trial. This court made findings on the record at the status hearing on June 23,
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     2011 (ECF 134), which are hereby adopted by the court in full herein as if stated in full herein. The
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     court further adopts in full herein as if stated in full herein, both the findings and the factual bases
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     and findings supporting the granting of the continuance from June 23, 2011, up to and including
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     November 10, 2011, as set forth in the record on June 23, 2011 (ECF 134). The court continues to
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     find: (1) this case is unusual and so complex within the meaning of Title 18 U.S.C. Section
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     3161(h)(7)(A) and (B)(ii) and Local Code T-2, and that it would be unreasonable to expect adequate
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     preparation for pretrial proceedings or for the trial itself within the time limits established in the
16
     Speedy Trial Act; and (2) additional time is needed to allow defense counsel reasonable time
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     necessary for effective preparation, taking into account the exercise of due diligence within the
18
     meaning of Title 18, U.S.C. Section 3161(h)(7)(A) and (B)(iv) and Local Code T-4. These findings
19
     are due to the number of defendants, twelve (12), the volume of discovery (including approximately
20
     three large binders of documents, recordings of Spanish language interviews of multiple defendants,
21
     numerous photographs, and hundreds of potential trial exhibits), the complex legal issues, the
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     anticipated filing of multiple pre-trial motions by the parties, and the need to conduct further
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     investigation in the case. The court orders the continued exclusion of the time period from June 23,
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     2011 up to, and including, November 10, 2011, from computation of time within which the trial of
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     this case must be commenced under the Speedy Trial Act, pursuant to Title, 18 U.S.C. Section
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     3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local code T-2 (unusual and complex case)
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 1   and Local Code T-4 (reasonable time necessary for defense attorney preparation, taking into account
 2   the exercise of due diligence).
 3          IT IS SO ORDERED.
 4   DATED: SEPTEMBER 16, 2011.
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 6
 7                                                  UNITED STATES DISTRICT JUDGE

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